      Case 19-01556                 Doc 14        Filed 04/25/19 Entered 04/25/19 23:27:46                   Desc Imaged
                                                  Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Minerva Aguilar                                             Social Security number or ITIN   xxx−xx−2397
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Illinois

Case number: 19−01556



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Minerva Aguilar

                                                                          For the court: Jeffrey P. Allsteadt, Clerk
           April 23, 2019                                                                United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 19-01556-CAD
Minerva Aguilar                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: admin                        Page 1 of 2                          Date Rcvd: Apr 23, 2019
                                      Form ID: 318                       Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 25, 2019.
db             +Minerva Aguilar,   2730 W 135th Street,    Blue Island, IL 60406-2810
27460944       +CBNA/ExxnMobil,   PO Box 6497,   Sioux Falls, SD 57117-6497
27460961       +TOTAL FINANCE AC LLC,   3400 n pulaski rd,    Chicago, IL 60641-4023
27460943      ++TOTAL FINANCE AC LLC,   3400 N PULASKI ROAD,    CHICAGO IL 60641-4023
               (address filed with court: Car Outlet,    4530 S. Archer Ave,    Chicago, IL 60632)

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: BNBNEWMAN.COM Apr 24 2019 05:23:00      Norman B Newman,     Much Shelist, P.C.,
                 191 North Wacker Drive Ste 1800,    Chicago, IL 60606-1631
27460941       +EDI: TSYS2.COM Apr 24 2019 05:23:00      Barclays Bank Delaware,     125 South West Street,
                 Wilmington, DE 19801-5014
27460942       +E-mail/Text: bk@blittandgaines.com Apr 24 2019 01:49:55        Blitt & Gaines,    661 Glenn Avnue,
                 Wheeling, IL 60090-6017
27460945       +EDI: WFNNB.COM Apr 24 2019 05:23:00      Comenity Bank/Carsons,     3100 Easton Square Place,
                 Columbus, OH 43219-6232
27460946       +EDI: WFNNB.COM Apr 24 2019 05:23:00      Comenity Capital/HSN,     PO BOX 182120,
                 Columbus, OH 43218-2120
27460947       +EDI: CONVERGENT.COM Apr 24 2019 05:23:00       Convergent Outsourcing,     800 SW 39th St.,
                 Renton, WA 98057-4927
27460948       +E-mail/Text: kzoepfel@credit-control.com Apr 24 2019 01:50:33        Credit Control LLC,
                 5757 Phantom Drive,    Suite 330,   Hazelwood, MO 63042-2429
27460949       +EDI: ESSL.COM Apr 24 2019 05:23:00      Dish Network,    PO BOX 94063,     Palatine, IL 60094-4063
27460950       +E-mail/Text: bknotificationdistribution@jhcapitalgroup.com Apr 24 2019 01:52:03
                 JH Portfolio Debt Equ,    5757 Phantom Drive,    Suite 225,    Hazelwood, MO 63042-2429
27460951       +EDI: CBSKOHLS.COM Apr 24 2019 05:23:00      KOHLS/CAPONE,     PO BOX 3115,
                 Milwaukee, WI 53201-3115
27460951       +E-mail/Text: bncnotices@becket-lee.com Apr 24 2019 01:49:39        KOHLS/CAPONE,    PO BOX 3115,
                 Milwaukee, WI 53201-3115
27460952       +EDI: TSYS2.COM Apr 24 2019 05:23:00      Macys,    Po Box 8218,    Mason, OH 45040-8218
27460953        EDI: MID8.COM Apr 24 2019 05:23:00      Midland Credit Management Inc.,
                 8875 Aero Drive Suite 200,    San Diego, CA 92123-2255
27460956       +EDI: MID8.COM Apr 24 2019 05:23:00      Midland Funding,     2365 Northside Drive #300,
                 San Diego, CA 92108-2709
27460957        EDI: PRA.COM Apr 24 2019 05:23:00      Portfolio Recovery Associates, LLC,
                 Riverside Commerce Center,    120 Corporate Blvd Ste. 100,     Norfolk, VA 23502
27460959       +EDI: RMSC.COM Apr 24 2019 05:23:00      SYNCB/Gap,    PO BOX 965005,    Orlando, FL 32896-5005
27463259       +EDI: RMSC.COM Apr 24 2019 05:23:00      Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
27460960       +EDI: WTRRNBANK.COM Apr 24 2019 05:23:00      TD Bank USA/TargetCredit,      3701 Wayzata BLVD #MS6C,
                 Minneapolis, MN 55416-3401
                                                                                                TOTAL: 18

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
27460954*         Midland Credit Management Inc.,    8875 Aero Drive Suite 200,   San Diego, CA 92123-2255
27460955*         Midland Credit Management Inc.,    8875 Aero Drive Suite 200,   San Diego, CA 92123-2255
27460958*       ++PORTFOLIO RECOVERY ASSOCIATES LLC,    PO BOX 41067,   NORFOLK VA 23541-1067
                 (address filed with court: Portfolio Recovery Associates, LLC,     Riverside Commerce Center,
                   120 Corporate Blvd Ste. 100,   Norfolk, VA 23502)
                                                                                               TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 25, 2019                                            Signature: /s/Joseph Speetjens
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                             Form ID: 318                Total Noticed: 21

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 23, 2019 at the address(es) listed below:
              Celetha Chatman    on behalf of Debtor 1 Minerva Aguilar cchatman@communitylawyersgroup.com,
               celetha--chatman--wood-finko-thompson-pc-0120@ecf.pacerpro.com
              Norman B Newman   nnewman@muchshelist.com, nsulak@muchshelist.com;IL83@ecfcbis.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
                                                                                            TOTAL: 3
